      Case 1:19-cv-08655-JHR           Document 137      Filed 11/01/21    Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ULKU ROWE,                                            No. 1:19-cv-08655 (LGS)(GWG)

                   Plaintiff,

      -against-                                        DEFENDANT GOOGLE LLC’S
                                                        NOTICE OF MOTION FOR
GOOGLE LLC,                                              SUMMARY JUDGMENT

                   Defendant.                              Oral Argument Requested




          Pursuant to Federal Rule of Civil Procedure 56, Defendant Google LLC (“Google”) by

and through its undersigned counsel, hereby moves this Court for an Order granting Google’s

Motion for Summary Judgment (the “Motion”) for the reasons identified in the accompanying

Memorandum of Law in Support of Its Motion, Declaration of Will Grannis, Declaration of

Kevin Lucas and Exhibits, Declaration of Chris Humez, and Declaration of Sara B. Tomezsko

and Exhibits, and Statement of Undisputed Material Facts, which are incorporated by reference

herein.

          WHEREFORE, Google respectfully requests that the Court grant Google’s Motion and

enter and Order dismissing Plaintiff Ulku Rowe’s Amended Complaint (ECF No. 12).


Dated: New Canaan, Connecticut
       November 1, 2021                      PAUL HASTINGS LLP


                                            _________________________________
                                             By:    Kenneth W. Gage
                                                    Sara Tomezsko

                                             200 Park Avenue
                                             New York, NY 10166
                                             Tel: (212) 318-6000
                                             Fax: (212) 319-4090

                                                1
Case 1:19-cv-08655-JHR   Document 137    Filed 11/01/21   Page 2 of 3



                             kennethgage@paulhastings.com
                             saratomezsko@paulhastings.com

                             Attorneys for Defendant
                             GOOGLE LLC




                               2
        Case 1:19-cv-08655-JHR           Document 137        Filed 11/01/21      Page 3 of 3



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this 1st day of November 2021, I caused a true

and exact copy of the foregoing DEFENDANT GOOGLE LLC’S MOTION FOR SUMMARY

JUDGMENT and all supporting documents to be filed electronically and served by mail on

anyone unable to accept electronic filing. Notice and copies of this filing will be sent by e-mail to

all parties by operation of the Court’s electronic filing system or by mail to anyone unable to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.


Dated: Jersey City, New Jersey
       November 1, 2021


                                                            Sara B. Tomezsko




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